
By the Court.
Held: 1. If a person resident in, and having a settlement entitling him to relief under the act for the relief of the poor of the state, removes to a sister state, with the intention of remaining, and while there, exercises the right of suffrage, and acquires a residence and settlement entitling him to relief under the poor laws of that state, his residence and settlement in this state is lost, and his return will not revive it. He must obtain a new settlement after his return, by a continuous residence of one year, in some township in this state.
2. If, after his return, he marry a woman having a settlement in this state, and abandon her before he acquires such new settlement, she will, if in need of relief, be entitled to receive it from the township where she was last legally settled, prior to her marriage.
Motion overruled.
